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 1                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO
 2
 3    UNITED STATES OF AMERICA
 4          Plaintiff
 5                v.                                          CRIMINAL NO. 99-295 (DRD)
 6    DAVID VEGA MOLINA
 7          Defendant
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                                 REPORT AND RECOMMENDATION
10
            Defendant’s Motion to Dismiss Count IV of the Indictment (Docket No. 526) must be granted
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     without prejudice on ex post facto grounds pursuant to the First Circuit’s opinion on appeal. See
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     United States v. Vega Molina, 407 F. 3d 511, 524-526 (1st Cir. 2005), pet. for cert. filed on August
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     16, 2005. In its opinion, the Court of Appeals held that the penalty provision at issue — 18 U.S.C.
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     § 1203(a) — was inexistent at the time defendant committed the offense.
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            Notwithstanding this ruling, the Government may move to amend the indictment to charge
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     a Section 371 conspiracy or a direct violation of Section 1203. See Vega Molina, supra at 526.
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     More so, as the Circuit recognized, “the appellant’[s] inattentiveness [in not raising the issue until
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     direct appeal] should not redowned to [his] benefit”.
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            The Court RECOMMENDS that the Government be given twenty (20) days to decide
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     whether to correct the indictment in regards to Count IV.
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            The Government’s reply (Docket No. 528) and defendants’ response (Docket No. 529) have
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     been duly NOTED and considered by the Court.
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            Under the provisions of Rule 72(d), Local Rules, District of Puerto Rico, any party who
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     objects to this report and recommendation must file a written objection thereto with the Clerk of the
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     Court within ten (10) days of the party’s receipt of this report and recommendation. The written
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     objections must specifically identify the portion of the recommendation, or report to which objection
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     is made and the basis for such objections. Failure to comply with this rule precludes further
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 1   CIVIL NO. 99-295 (DRD)                         2
 2   appellate review. See Thomas v. Arn, 474 U.S. 140, 155 (1985), reh’g denied, 474 U.S. 1111(1986);

 3   Davet v. Maccorone, 973 F.2d 22, 30-31 (1st Cir. 1992).

 4          SO RECOMMENDED.

 5          In San Juan, Puerto Rico, this 28th day of September, 2005.

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 7                                                              S/Gustavo A. Gelpi
 8                                                             GUSTAVO A. GELPI
                                                           United States Magistrate-Judge
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